Case 2:19-cv-10797-PA-JEM Document 53 Filed 10/02/20 Page 1 of 1 Page ID #:1722


 1                                                                                          JS-6
 2
 3
 4
 5
 6
 7                               UNITED STATES DISTRICT COURT
 8                              CENTRAL DISTRICT OF CALIFORNIA
 9
10   CARSON COGENERATION                             CV 19-10797 PA (JEMx)
     COMPANY,
11                                                   JUDGMENT
                   Plaintiff,
12
            v.
13
     SCOTTSDALE INSURANCE
14   COMPANY, et al.,
15                 Defendants.
16
17          Pursuant to the Court’s October 2, 2020 Order granting Defendant’s Motion for
18   Summary Judgment,
19          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant shall
20   have judgment in its favor against Plaintiff.
21          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Plaintiff take
22   nothing and that Defendant shall have its costs of suit.
23          IT IS SO ORDERED.
24
25   DATED: October 2, 2020                             _________________________________
                                                        ______
                                                             ______
                                                                  ________________________
                                                                   Percy
                                                                   Percyy Anderson
26
                                                          UNITED STATES
                                                                 STAATES DISTRICT JUDGE
27
28
